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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 1 of 20

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

IN RE COUNTY OF MONTEREY INITIATIVE

MATTER,
and

IN RE MONTEREY REFERENDUM.

CASE NO. C 06-01730 JW
CASE NO. C 06-02369 JW

MELENDEZ PLAINTIFFS’ AND
RSJOC PLAINTIFFS’ OPPOSITION .
TO DEFENDANT’S MOTION TO
CLARIFY OR ALTER JUDGMENT

Date: May 21, 2007
Time: 9:00 a.m.

Judge: Hon. James Ware
Ctrm: 8

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OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 2 of 20

CONTENTS
INTRODUCTION .......... ccc cee bee eee eee eee ee ee beeen eees 1
BACKGROUND ... wc cc ne eee been eee eee eee ee eee nen e eee 2
L THE COURT’S RULING THAT MELENDEZ PLAINTIFFS AND RSJOC PLAINTIFFS ARE
ENTITLED TO RECOVER THEIR ATTORNEYS’ FEES WAS PROCEDURALLY PROPER ...... 5
I. ON THE MERITS, MELENDEZ PLAINTIFFS AND RSJOC PLAINTIFFS ARE ENTITLED
TO THEIR ATTORNEYS’ FEES UNDER BOTH STATE AND FEDERAL FEE-SHIFTING
STATUTES (occ c ccc ccc en ee ee eee bet ee ee nee eee nent nee Poa 8
A. CALIFORNIA CODE OF CIVIL PROCEDURE SECTION 1021.5
REQUIRES AWARDING MELENDEZ PLAINTIFFS AND RSJOC
PLAINTIFFS THEIR ATTORNEYS’ FEES 1... 0... eee cece te eens 8
B. THE FEDERAL ATTORNEYS’ FEES PROVISION OF 42 U.S.C. § 1973z
PROVIDES AN ADDITIONAL GROUND FOR AWARDING MELENDEZ
PLAINTIFFS AND RSJOC PLAINTIFFS THEIR ATTORNEYS’ FEES ............. 13
CONCLUSION ..... 0. ccc cc ne eee ene e ne ee ee tebe eee n en eee 16

i

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 3 of 20

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Alyeska Pipeline Service Co. v. Wilderness Society, 421 U.S. 240 (1975) ..........+..-. 11, 13
American Civil Liberties Union v. Lomax, 471 F.3d 1010 (9th Cir. 2006) ................ 15
Bouman v. Block, 940 F.2d 1211 (9th Cir. 1991) 2... eee eee 10
Campuzano v. Illinois State Board of Education, 241 F. Supp. 2d 892 (N.D. Ill. 2003) ...... 15
Charfauros v. Board of Elections, 249 F.3d 941 (9th Cir. 2001) 2.2.6... eee eee 15
Control Data Corp. v. 8.C.S.C Corp, 53 F.3d 930 (8th Cir. 1995) 6... ee eee 11, 13
In re County of Monterey Initiative Matter, 427 F. Supp. 2d 958 (N.D. Cal. 2006) ......... 12

Crommie v. California Public Utilities Commission, 840 F. Supp. 719 (N.D. Cal. 1994) .. 10, 11

Eddy v. Colonial Life Insurance Co. of Am., 59 F.3d 201 (D.C. Cir. 1995) 2.0... eee eee 8
Gomez v. City of Watsonville, 863 F.2d 1407 (9th Cir. 1988) ©... eee 7
Guimond v. Trans Union Credit Information Co., 45 F.3d 1329 (9th Cir. 1995) ........0.. 13
Hastert v. Illinois State Board of Election Comm'rs, 28 F.3d 1430 (7th Cir. 1993) ........ 7,8
Jordan v. Multnomah County, 815 F.2d 1258 (9th Cir. 1987) 2.0... eee 6
Keith v. Volpe, 644 F. Supp. 1317 (C.D. Cal. 1986) . 00... cece 10
Keith v. Volpe, 858 F.2d 467 (9th Cir. 1988) 6.2... eee 8, 10, 13
Kerr v. Screen Extras Guild, Inc., 526 F.2d 67 (9th Cir. 1975)... eke eee 6
King v. Illinois State Board of Education, 410 F.3d 404 (7th Cir. 2005) ............. 2, 13, 14
Mangold v. California Public Utilities Commission, 67 F.3d 1470 (9th Cir. 1995) ...... 10, 11
Seals v. Quarterly County Court of Madison County, 562 F.2d 390 (6th Cir. 1977) ......4.. 14
Texas A&M Research Foundation v. Magna Transportation, Inc.,

338 F.3d 394 (Sth Cir. 2003) 2... cette eee nes 13
Williams v. Alioto, 625 F.2d 845 (9th Cir. 1980), cert. denied, 450 U.S. 1012 (1981) ...... 6,7

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In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 4 of 20

State Cases

Citizens Against Rent Control v. City of Berkeley, 181 Cal. App. 3d 213 (1986) ...........- 9
City of Sacramento v. Drew, 207 Cal. App. 3d 1287 (1989)... 0. ee eee ee eee ees 8
Lyons v. Chinese Hospital Association, 136 Cal. App. 4th 1331 (2006) ....-.-..-.-+.- +5 +s 8
Press v. Lucky Stores, Inc., 34 Cal. 3d 311 (1983) 2.1... eee ee eee eee eee 8
Wal-Mart Real Estate Business Trust v. City Council of the City of San Marcos,

132 Cal. App. 4th 614 (2005) 2... teens 9

Federal Statutes and Rules
28 U.S.C. § 14432) oo een nnn e ene e eens 3,4,9
A2US.C. § 1973] oo ene nent eee nes 1, 7, 13
A2 U.S.C. § 1973U(C) oc ee nee eee eens 14
A2 U.S.C. § 1973U(€) eee eens 7, 13, 16
AZ U.S.C. § 1988 2. nnn ene 6, 7
Fed. R. Civ. P. 59(€) oo enn enn e nee n nets 4
State Constitution and Statutes

Cal. Const., art. I], § 11 . ee nen een nee een eee tenets 12
Cal. Code Civ. Proc., § 1021.5 2.0... ee ett ees 1, 4, 7, 8
Cal. Elec. Code,

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In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 5 of 20

INTRODUCTION

In its Motion to Clarify or Alter Judgment, Defendant County of Monterey (“the County”)
asks this Court to revise the judgment entered on March 29, 2007, to delete the statements therein
confirming that Plaintiffs William Melendez et al. (“Melendez Plaintiffs”) and Plaintiffs Rancho San
Juan Opposition Coalition et al. (“RSJOC Plaintiffs”) are entitled to recover the reasonable attorneys’
fees they incurred in successfully prosecuting these consolidated actions. Unable to refute that
Plaintiffs do indeed satisfy the statutory criteria for a fee award under the relevant state and federal
fee-shifting statutes, the County instead contends (1) that it was “premature” for the Court to address
Plaintiffs’ entitlement to attorneys’ fees in its summary judgment ruling on the merits, and (2) that
these established fee-shifting statutes do not apply in the context of these consolidated actions. The
County is wrong on both scores: The Court’s judgment quite properly addresses Plaintiffs’
entitlement to an award of attorneys’ fees in the first instance, reserving for a subsequent motion (if
necessary) the question of the appropriate amount of such an award, and the Court was perfectly
correct in recognizing that both state and federal law expressly authorize a fee award to Plaintiffs
as the prevailing parties in the present actions.

Most telling, the County essentially concedes that Melendez Plaintiffs and RSJOC Plaintiffs
would be entitled to a fee award under California’s private attorney general statute, codified in
California Code of Civil Procedure section 1021.5. The County contends, however, that there is no
federal statute nor any decisional law that would permit application of California’s fee-shifting
statute to this case. As is demonstrated below, the County is fundamentally wrong in this regard, for
numerous federal court decisions — including some of those cited by the County itself — have
awarded fees under section 1021.5 and other state fee-shifting statutes under circumstances similar
to those present here.

The County’s argument that Plaintiffs are not entitled to a fee award under 42 U.S.C. § 19731
is similarly misplaced. Plaintiffs not only satisfy the literal terms of that statute but, perhaps more
importantly, a fee award to Plaintiffs would fulfill the statute’s underlying purpose of ensuring
effective access to the judicial process for persons seeking to enforce their voting rights. In these

lawsuits, Plaintiffs sought nothing more than to secure the right to vote for Monterey County’s

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In re County of Monterey Initiative Matter, In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 6 of 20

citizens on two important ballot measures affecting the quality of life in their community — a right
that the County had denied them based, in part, on its erroneous interpretation of the Voting Rights
Act. By prevailing in these actions and obtaining an injunction requiring the County to submit the
Initiative and Referendum to a vote of the people, Plaintiffs accomplished precisely what the County
itself acknowledges is the “critical inquiry” for determining a party’s entitlement to a fee award
under section 1973/: “[W]hat matters is that they successfully protected rights guaranteed to them
under the Constitution of the United States and the Voting Rights Act.” King v. Ill. State Bd. of
Elections, 410 F.3d 404, 419 (7th Cir. 2005) [quoted in Defendant’s Memorandum of Points and
Authorities in Support of Motion to Clarify or Alter Judgment (“County’s Memorandum”’), at 6].

In sum, this Court’s March 29, 2007, judgment was absolutely correct in recognizing that
Plaintiffs “are entitled to recover reasonable costs and fees” as the prevailing parties in these actions.
As contemplated in the Court’s judgment, if Plaintiffs and the County are unable to reach agreement
on the reasonable amount of those fees, then that issue may be submitted to this Court for post-
judgment consideration through a motion requesting that the Court issue an order awarding Plaintiffs
fees in a particular amount. In the meantime, there is no need for any order clarifying or altering the
Court’s March 29, 2007, judgment in any respect. Accordingly, the County’s Motion to Clarify or
Alter Judgment should be denied.

BACKGROUND

The two consolidated lawsuits at issue here were initiated in response to the County’s refusal
to allow a vote on two duly qualified citizen-sponsored ballot measures. On March 1, 2006, after
the Board of Supervisors had voted not to place “The Monterey County Quality of Life, Affordable
Housing, and Voter Control Initiative” (the “Initiative”) on the ballot for the June 2006 election,
Melendez Plaintiffs filed suit against the County defendants in Monterey County Superior Court.
The Complaint alleged, among other things, that the County had a ministerial duty under the law to
submit the Initiative to a vote of the people, and that the County’s denial of their right to vote on the
measure violated the California Elections Code and the Constitution. Melendez Complaint, {J 18-
20, 28. Melendez Plaintiffs therefore requested an order requiring the County Defendants to comply

with their ministerial duty to submit the Initiative for a vote of the County’s electorate. Jd., Prayer

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In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 7 of 20

for Relief, at {{ 1-2. In addition, Melendez Plaintiffs explicitly prayed for an award of their
reasonable costs and attorneys’ fees (id., Prayer for Relief, at { 4), specifically alleging that “they
bring this action as private attorneys general pursuant to California Code of Civil Procedure
section 1021.5, in order to vindicate their own interests as well as the interests of all of the taxpayers
and citizens of the County of Monterey in obtaining Respondents’ compliance with the California
Constitution, in the proper implementation of the state’s election laws, and in the fair and impartial
performance of Respondents’ duties as county officials.” Melendez Complaint, { 23.'

On March 7, 2006, before the Superior Court could hold a hearing in the matter, the County
removed the Melendez case to this Court pursuant to 28 U.S.C. § 1443(2), which permits a defendant
to remove a civil action from state to federal court if that action is “[f]or any act under color of
authority derived from any law providing for equal rights, or for refusing to do any act on the ground
that it would be inconsistent with such law.” Upon its removal to this Court, the Melendez action
(Case No. C 06-01730) was related to, and was ultimately consolidated with, another action —
Madrigal v. County of Monterey (Case No. C 06-01407) — that had been brought by three Spanish-
speaking plaintiffs under Section 203 of the Voting Rights Act, alleging that the Initiative was
invalid because the petitions had been printed and circulated only in English.

The second lawsuit at issue here, which relates to the Referendum Against Resolution
No. 05-305 (the “Referendum’”) sponsored by RSJOC Plaintiffs, came before this Court in a similar
fashion. On April 3, 2006, following the Board of Supervisors’ removal of the duly qualified
Referendum from the June 2006 election ballot, RS/JOC Plaintiffs filed suit in Monterey County
Superior Court seeking an order requiring the County to submit the measure to a vote of the people
in order to vindicate Plaintiffs’ and the other County residents’ voting rights. RSJOC Complaint,
Prayer for Relief, at { 1-2. Like Melendez Plaintiffs, RSJOC Plaintiffs alleged in their Complaint
that the County had a ministerial duty under California state election law and the Constitution to

permit a vote on the Referendum. See, e.g., id., {| 18-20, 28. RSJOC Plaintiffs also explicitly

‘Consequently, the County’s contention in the context of the instant motion that Melendez
plaintiffs “d[id] not cite any statute” as the ground for their prayer for attorneys’ fees — and the
County’s feigned uncertainty regarding the basis for any fee award in this case — is simply untrue.
See County’s Memorandum, at 2.

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In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 8 of 20

requested an award of their costs and reasonable attorneys’ fees pursuant to California Code of Civil
Procedure section 1021.5. Jd., | 23, Prayer for Relief, at { 4.

On April 4, 2006, again before any state court proceedings could be held, the County
removed the RSJOC action to this Court pursuant to 28 U.S.C. § 1443(2), and shortly thereafter the
RSJOC action (Case No. C 06-02369) was related to and then consolidated for purposes of summary
judgment motions with another pending federal action — Rangel v. County of Monterey (Case No.
C 06-02202) — in which a subset of the Spanish-speaking plaintiffs from the Madrigal action had
alleged that the Referendum was also invalid under Section 203 of the Voting Rights Act.

After more than a year of vigorous litigation, including an appeal to the Ninth Circuit in the
Melendez/Madrigal cases, these actions reached final disposition on March 29, 2007, when this
Court entered summary judgment in favor of Melendez Plaintiffs and RSJOC Plaintiffs and against
Defendant County of Monterey, ordering the County to submit the Initiative and Referendum to the
voters at the next scheduled county election on June 5, 2007. See March 29, 2007, Summary
Judgment, ff] 1 & 3. The Court ruled, as Melendez and RSJOC Plaintiffs had argued, that
Section 203 of the Voting Rights did not apply to privately initiated, drafted, and circulated petitions,
and that Melendez Plaintiffs and RSJOC Plaintiffs were therefore entitled to their requested
injunctions requiring the County to submit the ballot measures, in their entirety and without
alteration, to the voters of Monterey County at the June 5, 2007, county election. The Court’s
judgment also noted that, as the prevailing parties, Melendez Plaintiffs and RSJOC Plaintiffs “are
entitled to recover reasonable costs and fees,” while specifically “reserv[ing] for post-judgment
consideration” upon timely request “any motion for reasonable attorneys’ fees or costs by a
prevailing party.” March 29, 2007, Summary Judgment, at 1-2.

Shortly after issuance of the judgment, the County filed the instant Motion to Clarify or Alter
Judgment, requesting that the Court modify its judgment pursuant to Federal Rule of Civil Procedure
59(e) by striking the word “fees” from the two sentences recognizing Melendez Plaintiffs’ and

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RSJOC Plaintiffs’ entitlement “to recover reasonable costs and fees.” As is discussed’ below,
however, the County’s motion fails to provide any legal or factual basis for this extraordinary relief,

and this Court should deny the Motion in its entirety.

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In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 9 of 20

L THE COURT’S RULING THAT MELENDEZ PLAINTIFFS AND RSJOC PLAINTIFFS ARE
ENTITLED TO RECOVER THEIR ATTORNEYS’ FEES WAS PROCEDURALLY PROPER

As an initial gambit, the County asks this Court to “clarify” that the word “fees” in the
portions of its judgment declaring that the Melendez Plaintiffs and RSJOC Plaintiffs “are entitled to
recover reasonable costs and fees” was not meant to include attorneys’ fees. County’s
Memorandum, at 4. The County asserts that it would be “manifestly unjust” and procedurally
improper for the Court to have decided the issue of Plaintiffs’ entitlement to attorneys’ fees without
the filing of a motion and any briefing or argument on that issue. Jbid.

While Plaintiffs are obviously not in a position to know what the Court’s subjective intent
was in declaring that they are entitled to recover their “reasonable costs and fees,” Plaintiffs must
point out that the County’s suggestion that the word “fees” was perhaps not meant to include
attorneys’ fees is certainly at odds with the actual language of the Court’s judgment. Indeed, a
substantial body of law has developed delineating precisely what types of expenditures qualify as
recoverable “costs,” on the one hand, and “attorneys’ fees,” on the other. Particularly in light of the
well-established distinction between these two terms, using both the words “costs” and “fees” would
be quite an unusual way to refer only to costs.

More substantively, there is nothing “premature” or “inappropriate” in the Court’s including
a declaration regarding Plaintiffs’ entitlement to recover their attorneys’ fees in the judgment on the
merits. Courts are not required to wait for a written motion to be filed before ruling on a prevailing
party’s entitlement to fees; indeed, in circumstances — as is the case here — in which a party is
entitled to fees as a direct consequence of prevailing on the merits, it would be judicially inefficient

to do so.” Rather, Rule 54 of the Federal Rules of Civil Procedure and the relevant case law require

"Including an explicit determination regarding the prevailing party’s entitlement to fees in
the judgment not only obviates the need for a separate Judicial proceeding on that issue, but in many
instances will help to facilitate an out-of-court resolution of the entire fee issue. In the great majority
of cases, the parties are able to reach a settlement regarding the reasonable amount of fees incurred.
By determining the entitlement issue prior to the filing ofa formal motion for an award of attorneys’
fees (which would otherwise typically require resolution of both the entitlement and amount issues),
the Court’s judgment removes that issue from further dispute and paves the way for the parties to
reach a settlement over the amount of fees to be awarded, saving both the litigants’ and the courts’
resources for more pressing issues.

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In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 10 of 20

only that a party who is entitled to attorneys’ fees must file a motion justifying the amount of fees
being claimed, which is precisely the procedure that this Court followed — ordering that Melendez
and RSJOC Plaintiffs are entitled to recover their attorneys’ fees and costs and that they may
therefore file a post-judgment motion requesting an award for the reasonable amount of those fees
and costs.2 See March 29, 2007, Summary Judgment, at 2.

Just as courts may award a prevailing party its litigation costs as a matter of course in the
underlying judgment on the merits, they likewise can and frequently do summarily declare a
prevailing party’s entitlement to attorneys’ fees when, as here, that determination flows directly from
the statutory requirements. Both the federal district courts in California and the Ninth Circuit
routinely follow this practice. In Williams v. Alioto, 625 F.2d 845 (9th Cir. 1980), cert. denied, 450
U.S. 1012 (1981), for instance, the district court ruled in favor of the plaintiffs in a civil rights action
and, without awaiting a fee motion, “awarded the fees . . . as part of its original order, with the
amount to be set later.” Jd. at 848. The statutory basis for that fee award was 42 U.S.C. § 1988,

which is construed similarly to 42 U.S.C. § 1973Ke) because the two provisions contain nearly

Indeed, Civil Local Rule 54-6, which sets forth the form of such a motion for attorneys’ fees,
requires a party seeking fees to submit documentation pertaining to the amount of the attorneys’ fees
being requested but does not require any information regarding that party’s entitlement to fees. See
Civil L.R. 54-6(b) (requiring a “statement of services rendered by each person for whose services
fees are claimed together with a summary of the time spent by each person, and a statement
describing the manner in which time records were maintained.”)

Nor does Rule 54 require that courts issue findings of facts and conclusions of law as to a
party’s entitlement to fees, as the County erroneously asserts. The findings and conclusions that
courts generally make on attorneys’ fees motions relate only to the amount of fees. To this end, the
Ninth Circuit has adopted a multi-factor test under federal fee-shifting statutes “to give trial courts
a concrete framework on which to hang attorneys’ fees cases,” Jordan v. Multnomah County, 815
F.2d 1258, 1264 n.11 (9th Cir. 1987), and each of the factors that trial courts must consider relate
only to the amount of fees to be awarded. See, e.g., Kerr v. Screen Extras Guild, Inc., 526 F.2d 67,
70 (9th Cir. 1975) (establishing the Kerr factors for considering attorneys’ fees awards, which
include “(1) the time and labor required, (2) the novelty and difficulty of the questions involved,
(3) the skill requisite to perform the legal service properly, (4) the preclusion of other employment
by the attorney due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or
contingent, (7) time limitations imposed by the client or the circumstances, (8) the amount involved
and the results obtained, (9) the experience, reputation, and ability of the attorneys, (10) the
‘undesirability’ of the case, (11) the nature and length of the professional relationship with the client,
and (12) awards in similar cases”); see also Williams, 625 F.2d at 849 (finding no abuse of discretion
in a fee award when district court “adequately considered the requisite factors as set forth by this
Court in Kerr v. Screen Extras Guild, Inc.’’).

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In re County of Monterey Initiative Matter, In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 11 of 20

identical language. E.g., Hastert v. Illinois State Bd. of Election Comm rs, 28 F.3d 1430, 1439 n.10
(7th Cir. 1993). As ordered by the district court in Williams, the prevailing parties subsequently
“moved the district court to set the amount of the attorneys’ fees,” which ultimately resulted in a fee
award of $45,000. 625 F.2d at 847. On appeal, the Ninth Circuit approved the propriety of the
district court’s award of fees in its original order and affirmed the entire amount of the fee award.
Id. at 849.

The Ninth Circuit itself also rules on a party’s entitlement to attorneys’ fees under a similar
summary procedure, without requiring a separate motion. For example, in Gomez v. City of
Watsonville, 863 F.2d 1407 (9th Cir. 1988), the Ninth Gircuit reversed the district court’s judgment
against the civil rights plaintiffs and instead entered judgment in their favor. The court then reversed
the district court’s award of costs to the defendants, and summarily awarded the plaintiffs both their
costs and the reasonable attorneys’ fees they had incurred for the entire action pursuant to 42 U.S.C.
§§ 1973(e) and 1988.4 The case was remanded to the district court solely for determination of the
appropriate amount of those fees. Gomez, 863 F.2d at 1419. The Ninth Circuit explained that its
fee award to the plaintiffs was fully justified because they were “clearly the prevailing party in this
litigation and no special circumstances prevent an award in this case.” Jd. (emphasis added).

In the present case, then, this Court’s judgment declaring that Melendez Plaintiffs and RSJOC
Plaintiffs are entitled to recover their costs and fees is perfectly proper and well supported by the law.
There is simply no question that Plaintiffs are the prevailing parties in this action, and as such, that
they are entitled to an award of their reasonable attorneys’ fees. As is more fully discussed below,
both California’s “private attorney general statute,” California Code of Civil Procedure
section 1021.5, and the federal attorneys’ fees provisions of 42 U.S.C. § 1973/ provide clear bases
for the fee award in the present action. In fact, fee awards under each of these statutes are
mandatory under the circumstances presented here. As California courts have long held, when

section 1021.5’s statutory criteria are met, the trial court has no discretion to deny fees. See, e.g.,

‘Although the plaintiffs-appellants had included a “request” for attorneys’ fees and costs for
the appeal, they had not requested or moved for an award of their fees and costs incurred in the
district court litigation. Gomez, 863 F.2d at 1419.

7

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 12 of 20

City of Sacramento v. Drew, 207 Cal. App. 3d 1287, 1297 & n.3 (1989); see also Lyons v. Chinese
Hospital Ass’n, 136 Cal. App. 4th 1331, 1344-45 (2006). Federal courts have similarly interpreted
section 1973/ to require a fee award to prevailing parties in actions to enforce the voting guarantees
of the Fourteenth and Fifteenth Amendments. See, e.g., Hastert v. Illinois State Bd. of Election
Comm’rs, supra, 28 F.3d at 1439 (although statutes like section 1973/(e) “commit fee award to the
district court’s discretion, Congress has nevertheless made clear that prevailing parties “should
ordinarily recover an attorney’s fee unless special circumstances would render such an award
unjust.’”); Eddy v. Colonial Life Ins. Co. of Am., 59 F.3d 201, 204 (D.C. Cir. 1995) (case law
provides for “the presumptive award of attorneys’ fees to prevailing parties in light of legislative
history unequivocally endorsing such a presumption.”).

II. ON THE MERITS, MELENDEZ PLAINTIFFS AND RSJOC PLAINTIFFS ARE ENTITLED
TO THEIR ATTORNEYS’ FEES UNDER BOTH STATE AND FEDERAL FEE-SHIFTING
STATUTES

A. CALIFORNIA CODE OF CIVIL PROCEDURE SECTION 1021.5
REQUIRES AWARDING MELENDEZ PLAINTIFFS AND RSJOC
PLAINTIFFS THEIR ATTORNEYS’ FEES

California Code of Civil Procedure section 1021.5 authorizes an award of attorneys’ fees to
prevailing parties when (1) the litigation enforces an important right affecting the public interest,
(2) a significant benefit was conferred on a large class of persons, and (3) the necessity and financial
burden are such that an award of attorneys’ fees is appropriate.” Cal. Civ. Proc. Code § 1021.5; see
also Keith v. Volpe, 858 F.2d 467, 486 (9th Cir. 1988). Melendez Plaintiffs and RS/OC Plaintiffs
— who explicitly pled section 1021.5 in their complaints as a basis for an award of their attorneys’
fees — clearly qualify for such a fee award here. By successfully litigating their state law causes of
action to obtain injunctions requiring the County to submit the Initiative and Referendum measures
to a vote of the people, Melendez Plaintiffs and RSJOC Plaintiffs protected the constitutional rights
of all the Initiative’s and Referendum’s supporters and afforded a// the voters of Monterey County

the opportunity to cast a vote on two matters of significant local concern, thereby conferring a

*The final statutory factor under section 1021.5 — whether such fees should be paid out of
the recovery, if any — is inapplicable here, since Melendez Plantiffs and RSJOC Plaintiffs had no
monetary recovery. See Press v. Lucky Stores, Inc., 34 Cal. 3d 311, 318 n.5 (1983).

8

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 13 of 20

significant benefit on the general public and satisfying the criteria of the private attorney general
statute. See, e.g., Wal-Mart Real Estate Business Trust v. City Council of the City of San Marcos,
132 Cal. App. 4th 614, 623 (2005) (“The electorate’s right to a referendum vote is . . . an important
right under section 1021.5, and [real parties] opposition to [the] petition to thwart the vote, or at
least delay it, protected the rights of thousands of registered voters to proceed in accordance with
state law.”); Citizens Against Rent Control v. City of Berkeley, 181 Cal. App. 3d 213, 229 (1986)
(“The fundamental constitutional stature of the rights vindicated here establishes beyond question
that an ‘important right’ has been enforced.”).°

Notably, the County does not dispute that, as a substantive matter, Melendez Plaintiffs and
RSJOC Plaintiffs satisfy the statutory criteria for a fee award under section 1021.5. The County
instead argues that “the opportunities to use § 1021.5 are severely limited” in federal court because
“[ {Jn cases within the district courts’ federal question jurisdiction, state fee shifting statutes generally
are inapplicable.” County’s Memorandum, at 7 (citing 10 Moore’s Federal Practice § 54.171 [5] (3d
Ed.). But the Melendez and RSJOC actions are not before this Court based on federal question
jurisdiction. Rather, both the Melendez action (Case No. C 06-01730) and the RSJOC action (Case
No. C 06-02369) were originally filed in Monterey County Superior Court alleging violations of
state law, and they were each removed to federal court by the County based upon 28 U.S.C.
§ 1443(2), a rarely-used removal statute that applies when a state official is “refusing to do any act
on the ground that it would be inconsistent with” a federal law providing for equal rights. Thus,
these actions and the relief sought therein (and granted by this Court) are based upon state-law

claims.

‘Plaintiffs also readily satisfy the necessity and financial burden factors. Without the
participation of Melendez Plaintiffs and RSJOC Plaintiffs, no arguments would have been presented
to this Court supporting the validity of the Initiative and Referendum, and no party would have
defended the Monterey County citizens’ constitutional and statutory rights. It was therefore
absolutely necessary for Plaintiffs to initiate their lawsuits and to oppose the Madrigal and Rangel
actions in order to vindicate their constitutional initiative and referendum rights. It is further
undisputed that, as a matter of law, Plaintiffs could not have gained financially from the outcome
of these lawsuits, thus satisfying the “financial burden” factor. See, e.g., Citizens Against Rent
Control v. City of Berkeley, supra, 181 Cal. App. 3d at 230 (any potential financial benefit that could
result from a vote on a ballot measure is “‘at least once removed from the results of the litigation”
over the financing of the campaign).

9

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 14 of 20

Under these circumstances, in which a party prevails on a state claim that would entitle it to
an award of attorneys’ fees under section 1021.5 in state court, federal courts are required to apply
state law and to award fees under that statute. See, e.g., Bouman v. Block, 940 F.2d 1211, 1237 (9th
Cir. 1991) (“When a plaintiff proceeds under multiple theories and prevails on [state law] claims,
[plaintiff] is entitled to attorneys’ fees on [those state law] claims.”). In Keith v. Volpe, 858 F.2d 467
(9th Cir. 1988), for example, the Ninth Circuit found that the plaintiff there was entitled to attorneys’
fees under section 1021.5 for “successfully litigating his state law claims” of racial discrimination.
Id. at 485-86. As the district court held, “[b]ecause plaintiffs’ relief was based partially on state law,
the court must. . . consider their entitlement to attorneys’ fees under relevant state law.” Keith v.
Volpe, 644 F. Supp. 1317, 1320-21 (C.D. Cal. 1986). Indeed, the court ultimately awarded the
plaintiff fees under both state and federal law, finding that he had also prevailed on his federal law
claim. See 858 F.2d at 486-87.

Similarly, the court in Mangold v. California Public Utilities Commission, 67 F.3d 1470 (9th
Cir. 1995), awarded fees to the plaintiffs under section 1021.5 because they had prevailed on their
California Fair Employment and Housing Act claims. The court recognized that “[e]xisting Ninth
Circuit precedent has applied state law in determining not only the right to fees, but also in the
method of calculating the fees.” Jd. at 1478; see also Crommie v. California Public Utilities
Commission, 840 F. Supp. 719, 721 (N.D. Cal. 1994) (“Whether a plaintiff is entitled to an award
of attorneys’ fees is a question of substantive law and therefore is governed by state law.”). Finding
that the “method of calculating a fee is an inherent part of the substantive right to the fee itself, and
a state right to an attorneys’ fee reflects a substantive policy of the state,” the Ninth Circuit thus
affirmed the district court’s application of state law to enhance the fee award by a multiplier of 2.0.
Mangold, 67 F.3d at 1478-79. That the case was a federal action that also involved federal claims
did not limit the court’s authority to award fees under section 1021.5 for plaintiffs’ successful
litigation of their state law causes of action. To the contrary, the district court in Mangold explicitly
rejected the defendants’ “novel argument that plaintiffs only prevailed on their federal claims and

thus only availed themselves of federal remedies.” Crommie, 840 F. Supp. at 722.

10

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 15 of 20

Indeed, the key Supreme Court decision that the County itself relies upon confirms this
Court’s obligation to award Melendez Plaintiffs and RSJOC Plaintiffs their fees under section 1021.5
in the circumstances of a case, like the present actions, that has been removed from state to federal
court. In Alyeska Pipeline Service Co. v. Wilderness Society, 421 U.S. 240 (1975), the Supreme
Court held that “a state statute requiring an award of attorneys’ fees should be applied in a case
removed from the state courts to the federal courts” because “[i]t is clear that it 1s the policy of the
state to allow plaintiffs to recover an attorney’s fee in certain cases, and it has made that policy
effective by making the allowance of the fee mandatory on its courts in those cases. It would be at
least anomalous if this policy could be thwarted and the right so plainly given destroyed by removal
of the case to the federal courts.”’ Jd. at 260 n.31 (quoting People of Sioux County v. National
Surety Co., 276 U.S. 238 (1928)).° Following Alyeska, courts therefore routinely award attorneys’
fees to prevailing parties under state fee-shifting statutes in cases that have been removed from state
to federal court. See, e.g., Mangold, supra, 67 F.3d at 1472, 1478-79 (affirming award of $724,380

in attorneys’ fees pursuant to section 1021.5 in consolidated cases that were removed from state to

It would be patently unfair to allow the County to defeat Plaintiffs’ right to fees under
section 1021.5 — a right that would clearly be available to them in state court — simply by
removing these actions to federal court. Indeed, one of the bases for this Court’s decision to issue
an injunction in the Melendez action instead of remanding it to state court was that the “remedies
prayed for in the Melendez Plaintiffs’ state court Complaint do not differ from the remedies the Court
will provide... .” March 29, 2007, Summary Judgment, at 16.

8Contrary to the implication in the County’s Memorandum, the principle articulated in
Alyseka Pipeline — that “‘a state statute requiring an award of attorneys’ fees should be applied in
a case removed from the state courts to the federal courts” — is not limited to cases removed only
on diversity grounds. Rather, the relevant inquiry is simply whether the party claiming fees prevailed
on a state law claim and, hence, whether the policy of the state to award fees in order to encourage
the successful prosecution of such claims must be honored by the federal courts. As the Supreme
Court observed, “[i]t would be at least anomalous if this policy could be thwarted and the right so
plainly given destroyed by removal of the case to the federal courts.” Jd. at 260 n.31.

Similarly, the Eighth Circuit’s decision in Control Data Corp. v. 8.C.S.C Corp, 53 F.3d 930
(8th Cir. 1995) — also relied upon by the County — fully supports the fee award to Plaintiffs under
section 1021.5 in the instant action. The Court of Appeals in Control Data Corp. affirmed the
district court’s award of “reasonable attorney fees and witness fees” under a state statute in a case
that had raised both federal and state claims. Jd. at 938. Even though the federal law at issue there
did not authorize a fee award, the court of appeals held that the federal district court’s award of
attorneys’ fees under the state law was justified because the plaintiff had partially prevailed on both
its state and federal law claims. Jd. at 938-39.

11

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 16 of 20

federal court); Ackerman vy. Western Elec. Co., 860 F.2d 1514, 1520 (9th Cir. 1988) (upholding fee
award under California fee-shifting statute in handicapped discrimination case removed from state
to federal court).

A fee award under section 1021.5 is thus fully warranted here, as Melendez Plaintiffs and
RSJOC Plaintiffs each prevailed on their state law claims to compel the County Defendants to submit
the Initiative and Referendum to a vote of the people. In the Melendez and RSJOC Complaints,
Plaintiffs alleged that the County had violated its mandatory and ministerial duties under the
California Constitution and Elections Code by refusing to submit the duly qualified Initiative and
Referendum measures to a vote of the electorate, see, e.g., Melendez Complaint, {| 16-20 (citing

Cal. Const., art. II, § 11 and Cal. Elec. Code, § 9118); RSJOC Complaint, {J 18-20 (citing Cal.
Const., art. IL § 11 and Cal. Elec. Code, § 9145). Based upon these state law violations, the
Complaints asserted causes of action for injunctive relief requiring the County to place the two
measures on the election ballot. Melendez Complaint, {§] 27-28; RSJOC Complaint, {| 27-28.”

This Court granted the requested injunctions in its March 29, 2007, Summary Judgment,
finding that the Voting Rights Act did not require the initiative and referendum petitioris to be
circulated in Spanish as well as English, and ruling that the County thus had a mandatory and
ministerial duty under state law to submit the two measures to a vote. Cf In re County of Monterey
Initiative Matter, 427 F. Supp. 2d 958, 964 (N.D. Cal. 2006) (“under the California Elections Code,
the County of Monterey has a ministerial duty to place a properly notice and circulated initiative on
the ballot for the next general election”). As the prevailing parties on their state law claims,

therefore, Melendez Plaintiffs and RS/OC Plaintiffs are entitled to an award of reasonable attorneys’

*While the question of whether the Voting Rights Act applied to the Initiative and
Referendum was certainly a significant issue in this litigation — one that was raised as a defense by
the County for its refusal to submit the measures to a vote of the people as required by state law —
this does not transform the state law causes of action pled in the Melendez and RSJOC Complaints
into purely federal claims, as the County seems to imply. County’s Memorandum, at 7 (“the only
issue was a federal question issue, the Federal Voting Rights Act.”). Moreover, at least in the
Melendez case, the County initially claimed that its refusal to place the Initiative on the ballot was
justified on several state-law grounds — a position that the County subsequently abandoned after
those issues had been briefed in connection with Plaintiffs’ initial motion for injunctive relief.

12

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 17 of 20

fees under section 1021.5."

B. THE FEDERAL ATTORNEYS’ FEES PROVISION OF 42 U.S.C. § 19732
PROVIDES AN ADDITIONAL GROUND FOR AWARDING MELENDEZ
PLAINTIFFS AND RSJOC PLAINTIFFS THEIR ATTORNEYS’ FEES

This Court’s judgment that Melendez Plaintiffs and RSJOC Plaintiffs are entitled to recover
their attorneys’ fees is additionally supported by 42 U.S.C. § 1973/, which provides in pertinent part:

“Tn any action or proceeding to enforce the voting guarantees of the fourteenth
or fifteenth amendment, the court, in its discretion, may allow the prevailing party,
other than the United States, a reasonable attorney’s fees, reasonable expert fees, and
other reasonable litigation expenses as part of the costs.” 42 U.S.C. § 1973/(e).

Courts have recognized that under section 1973/, a “prevailing party in an action to vindicate rights
protected by... the Fourteenth and Fifteenth Amendments should ordinarily recover an attorney’s

fee unless special circumstances would render such an award unjust.” King v. Illinois State Board

The County suggests that section 1021.5 is somehow preempted by the federal attorneys’
fees provision of 42 U.S.C. § 1973/ (even though the County at the same time argues that
section 1973/ does not apply here). County’s Memorandum, at 8. The County can muster no
authority whatsoever to support this preemption argument, and the cases it cites are completely
inapposite. Guimond v. Trans Union Credit Information Co., 45 F.3d 1329 (9th Cir. 1995), vacated
an award of fees to the defendant under a state statute because the appellate court found that the
defendant had not prevailed on the state law claim that might otherwise have entitled it to an award
of attorneys’ fees. Jd. at 1336. The court also noted that even if the defendants had prevailed on the
state law claim, a fee award would have been inappropriate because it would contravene the purposes
of the state law; the court’s ruling had absolutely nothing to do with federal preemption. Jd. The
decision in Texas A&M Research Foundation v. Magna Transportation, Inc., 338 F.3d 394 (Sth Cir.
2003), likewise has no bearing on the question of whether section 1021.5 fees are preempted by
federal law. The court of appeals in that case merely held that a state statute providing for attorneys’
fees in certain contract actions does not apply to a federal maritime contract dispute litigated in
federal court, noting the “strong interest in maintaining uniformity in maritime law” and “the general
rule of maritime law that ‘parties pay their own fees absent bad faith or oppressive litigation
tactics.”” Id. at 406.

Indeed, contrary to the County’s argument, as is discussed in the text above, federal courts
have repeatedly awarded fees to prevailing parties under section 1021.5 even when federal law did
not authorize — or explicitly prohibited — similar fee awards, not once mentioning any concern
about federal preemption. See, e.g., Keith v. Volpe, 858 F.2d at 486-87; Control Data Corp., 53 F.3d
at 938-39 (fees denied to prevailing plaintiff under CERCLA but awarded under parallel state
cleanup statute). As the Supreme Court has held, denying a prevailing party the attorneys’ fees to
which it would be entitled under state law simply because fees would not be available under federal
law would be “at least anomalous,” because it would effectively thwart the state policy underlying
its fee-shifting statute. Alyeska Pipeline, 421 U.S. at 260 n.31. Thus, whether Melendez Plaintiffs
and RSJOC Plaintiffs would also be entitled to recover their attorneys’ fees under federal law has
no bearing on their entitlement to fees under section 1021.5 for prevailing on their state law claims.
And when, as is discussed in the following section, the pertinent federal statute actually supports an
award of attorneys’ fees under federal law, there is certainly no basis for claiming that a fee award
to Plaintiffs pursuant to section 1021.5 is somehow contrary to and preempted by federal policy.

13

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 18 of 20

of Education, 410 F.3d 404, 413 (7th Cir. 2005) (internal quotations omitted). As the County
acknowledges, “[t]he purpose of § 1973/(e) . . . is to ensure effective access to the judicial process
for persons with . . . voting rights grievances” by rewarding those “who as private attorneys general
take it upon themselves to invoke and thereby invigorate federal constitutional and statutory rights.”
Id. at 412 (emphasis in original; internal quotations omitted). To this end, the attorneys’ fees
provision in section 1973/ was intended to apply broadly to voting rights litigation, and it “should
be liberally construed to achieve the public purposes involved in the congressional enactment.”
Seals v. Quarterly County Court of Madison County, 562 F.2d 390, 393 (6th Cir. 1977) (citing H.R.
Rep. No. 94-1558).

As prevailing parties in actions brought to vindicate the people’s right to vote on the two
citizen-sponsored ballot measures, Melendez Plaintiffs and RSJOC Plaintiffs plainly qualify for an
attorneys’ fees award under this section. By seeking and successfully obtaining injunctions that
require the County to submit the Initiative and Referendum measures to a vote of the electorate, the
two actions brought by Plaintiffs enforced the voting guarantees of the Fourteenth Amendment to
the United States Constitution. See 42 U.S.C. § 1973i(c) (defining the term “voting” as “all action
necessary to make a vote effective in any primary, special, or general election’).

Although the County admits that the result of the two actions brought by Plaintiffs was
indeed to require that the Initiative and Referendum measures be voted upon at the June 5, 2007,
election, the County nevertheless argues that Plaintiffs’ lawsuits did not “rectify any violation of
voting rights” because “[n]o such allegations are made in their petitions or other pleadings.”
County’s Memorandum, at 6. But the determination to award fees under section 1973/ turns not on
the particular words used in the petition or complaint, but rather on whether the action, as a
substantive matter, enforced voting rights under the Fourteenth Amendment. In fact, as the County’s
own authorities demonstrate, courts may award fees under section 1973/ “even though the court
declines to enter judgment on [a federal voting rights] claim, so long as the plaintiff prevails on the
non-fee claim arising out of a ‘common nucleus of operative fact.”” Seals, 562 F.2d at 393-94 (“This
action, of course, is a federal action, and does not cease to be such because relief is rendered ... on

an alternative state law ground. Congress clearly has the power in such a circumstance to authorize

14

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 19 of 20

attorney’s fees as a matter of federal law, and it equally clearly has done so.”).

The two actions brought by Melendez Plaintiffs and RSJOC Plaintiffs did indeed enforce their
and their fellow citizens’ voting rights. These actions were filed in response to the County’s refusal
to place the duly qualified Initiative and Referendum measures on the ballot, thereby denying
Plaintiffs — and all Monterey County residents — the right to vote on those measures. The
County’s actions constituted an abridgment not just of Plaintiffs’ voting rights under the California
Constitution and Elections Code, but also of their right to vote under the Fourteenth Amendment to
the United States Constitution. Courts have recognized that the right to vote guaranteed by the
Fourteenth Amendment must be broadly construed, and courts must “vehemently protect every
citizen’s right to vote, carefully and meticulously scrutinizing any alleged infringement.”
Charfauros v. Board of Elections, 249 F.3d 941, 951 (9th Cir. 2001). Virtually any wrongful denial
of the right to vote infringes the voting guarantees of the Fourteenth Amendment. Jd. (“[T]he
Fourteenth Amendment to the United States Constitution guarantees each and every person that they
will not be denied their fundamental rights — including the right to vote... .”). Indeed, courts have
specifically found that interference with voting rights under a state initiative process implicates the
Fourteenth Amendment. See, e.g., American Civil Liberties Union v. Lomax, 471 F.3d 1010, 1020
(9th Cir. 2006) (recognizing that the Fourteenth Amendment was violated by a particular initiative
qualification rule). Therefore, because the result of these two lawsuits was to vindicate the people’s
right to vote on these ballot measures and to thereby rectify a denial of voting rights under the
Fourteenth Amendment, Melendez Plaintiffs and RS/JOC Plaintiffs are entitled to recover their fees
pursuant to section 1973/."'

Moreover, even under the County’s overly narrow and restrictive interpretation of

section 1973/ — requiring an action to specifically plead a “violation of voting rights within the

''Campuzano v. Illinois State Board of Education, 241 F. Supp. 2d 892 (N.D. Ill. 2003), cited
by the County, does not require a different result. That case holds that a defendant-intervenor may
not recover attorneys’ fees under section 1973/ from the prevailing named defendants on the ground
that those named defendants failed to adequately defend against the lawsuit, thereby forcing
defendants-intervenors “to shoulder the costs and legal fees” of the defense. /d. at 894-95. The court
in Campuzano explained that there is “no persuasive authority to force a prevailing but derelict
named defendant to pay the attorneys’ fees of a defendant-intervenor under a federal fee-shifting
statute.” Jd. This holding has absolutely no bearing on the present case.

15

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

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Case 5:06-cv-01407-JW Document 76 Filed 04/30/07 Page 20 of 20

meaning of the Voting Rights Act statute” as a prerequisite to a fee award under section 1973/ —
Melendez Plaintiffs and RS/JOC Plaintiffs would still qualify for such a fee award. The Melendez
action was consolidated with Madrigal v. County of Monterey (Case No. 06-01407), which was
explicitly brought “under the Voting Rights Act of 1965, 42 U.S.C. section 1973aa-la(c), and 42
U.S.C. section 1983 and 1988.” Madrigal Complaint, § 1. Similarly, the RSJOC action was
consolidated with Rangel v. County of Monterey (Case No. 06-02202), which was likewise brought
“under the Voting Rights Act of 1965, 42 U.S.C. section 1973aa-la(c), and 42 U.S.C. section 1983
and 1988.” Rangel Complaint, { 1. Thus, these consolidated actions are without question “action[s]
or proceeding[s] to enforce the voting guarantees of the fourteenth or fifteenth amendment,” 42
U.S.C. § 1973i(e), and as “the prevailing party, other than the United States,” ibid., both Melendez
Plaintiffs and RSJOC Plaintffs are entitled to recover their reasonable attorneys’ fees under the plain
terms of that statute.
CONCLUSION

For all the foregoing reasons, Melendez Plaintiffs and RSJOC Plaintiffs respectfully request
that the Court deny the County’s Motion to Clarify or Alter Judgment. The Court quite properly
indicated in the March 29, 2007, judgment that, as a direct result of prevailing in these consolidated
actions, Plaintiffs were entitled to recover their reasonable costs and attorneys’ fees. As further
contemplated in the Court’s judgment, ifPlaintiffs are unable to reach an agreement with the County
regarding the appropriate amount of such costs and fees, they will timely submit a post-judgment
motion for an award of reasonable attorneys’ fees and costs. Until then, no further action by this

Court is needed or warranted.

DATE: April 30, 2007 Respectfully submitted,

STRUMWASSER & WOOCHER LLP
Fredric D. Woocher

Michael J. Strumwasser

Bryce A. Gee

By /s/
Fredric D. Woocher

Attorneys for Plaintiffs William Melendez, et al. and
Plaintiffs Rancho San Juan Opposition Coalition, et al.
16

In re County of Monterey Initiative Matter; In re Monterey Referendum
Case Nos. C 06-01730 JW; C 06-02369
OPPOSITION TO DEFENDANT’S MOTION TO CLARIFY OR ALTER JUDGMENT

